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                            SO ORDERED: March 16, 2012.




                            ______________________________
                            Basil H. Lorch III
                            United States Bankruptcy Judge




                            UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF INDIANA
                                  NEW ALBANY DIVISION

 In re:                                                    )   Chapter 11
                                                           )
 EASTERN LIVESTOCK CO., LLC,                               )   Case No. 10-93904-BHL-11
                                                           )
                        Debtor.                            )

     ORDER GRANTING AMENDED MOTION TO APPROVE COMPROMISE AND
         SETTLEMENT WITH PEOPLES BANK AND TRUST COMPANY
                        OF PICKETT COUNTY

                This matter is before the Court on the Motion To Approve Compromise And

 Settlement With Peoples Bank and Trust Company of Pickett County [Docket # 990] as amended

 by the Amendment to Motion To Approve Compromise And Settlement With Peoples Bank and

 Trust Company of Pickett County [Docket # 1082] ("Settlement Motion"). Pursuant to notice,

 the Settlement Motion was heard by the Court on March 12, 2012 ("Hearing"). The Court,

 having considered the Settlement Motion and having found that adequate notice and opportunity

 to preserve any timely filed objection at the Hearing was provided and that no such objection or

 request for further hearing was preserved by counsel present at the Hearing, and being duly

 advised in the premises, now finds that the proposed settlement (i) is in the best interests of the
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 estate; (ii) provides tangible benefits to the estate and the creditors thereof; and (iii) should be

 approved. Accordingly, the Court finds that the relief requested in the Settlement Motion should

 be granted pursuant to Bankruptcy Rule 9019(a).

                 IT IS THEREFORE ORDERED that the Settlement Motion is hereby approved.

 The Trustee is authorized to take any and all actions necessary to close the settlement set forth in

 the Settlement Motion.

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